Case 0:18-cv-62034-CMA Document 1-1 Entered on FLSD Docket 08/28/2018 Page 1 of 1
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is Poquited for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS El Cartel Records, Inc., Ramon L. DEFENDANTS FALIC FASHION GROUP,LLC
Ayala-Rodriguez, Mireddys Gonzalez &
Avala-Gonzalez Coniuaal Partnershin

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Bufete Prado, Nufiez & Asociados, Edwin Prado,518 Peachtree
Rd. Orlando Fl 32804. # (787)977-1411

(d) Check County Where Action Arose: O MIAMI-DADE O MONROE éf BROWARD OIPALMBEACH [MARTIN OST.LUCIE DDINDIANRIVER DIOKEECHOBEE 1 HIGHLANDS

I. BASIS OF JURISDICTION (Place an “X”" in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
0 1 US. Government #13 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State oO (1 | Incorporated or Principal Place O4 O84
of Business In This State
OO 2. U.S. Government O4 Diversity Citizen of Another State O12 [ 2 Incorporated and Principal Place O5 O5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O13 (0 3 Foreign Nation Osés 6
Foreign Country
IV. NATURE OF SUIT (Place an “X”" in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
11110 Insurance PERSONAL INJURY PERSONAL INJURY [] 625 Drug Related Seizure (11422 Appeal 28 USC 158 1 375 False Claims Act
0 120 Marine (1310 Airplane 1 365 Personal Injury - of Property 21 USC 881 []423 Withdrawal 1 376 Qui Tam (31 USC
(1130 Miller Act (1315 Airplane Product Product Liability C1 690 Other 28 USC 157 3729 (a))
(1 140 Negotiable Instrument Liability C0 367 Health Care/ (1 400 State Reapportionment
(1150 Recovery of Overpayment [[] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [1820 Copyrights (J 430 Banks and Banking
[1151 Medicare Act (330 Federal Employers’ Product Liability [1830 Patent 1 450 Commerce
[J 152 Recovery of Defaulted Liability (1 368 Asbestos Personal oetine Te 1 460 Deportation
Student Loans (1340 Marine Injury Product F] 840 Trademark 1 470 Racketeer Influenced and
(Excl. Veterans) (01345 Marine Product Liability LABOR SOCIAL SECURITY Corrupt Organizations
[1153 Recovery of Overpayment Liability PERSONAL PROPERTY [J 710 Fair Labor Standards (186! HIA (1395ff 1 480 Consumer Credit
of Veteran’s Benefits (1 350 Motor Vehicle O 370 Other Fraud Act C1 862 Black Lung (923) 0 490 Cable/Sat TV
(1 160 Stockholders’ Suits (355 Motor Vehicle (1 371 Truth in Lending CJ 720 Labor/Memt. Relations [863 DIWC/DIWW (405(g)) [1 850 Securities/Commodities/
1 190 Other Contract Product Liability 1 380 Other Personal C1 740 Railway Labor Act (0 864 SSID Title XVI Exchange
(1195 Contract Product Liability [0] 360 Other Personal Property Damage 0 751 Family and Medical 1865 RSI (405(g)) C1 890 Other Statutory Actions
(1196 Franchise Injury C1 385 Property Damage Leave Act 1 891 Agricultural Acts
(1 362 Personal Injury - Product Liability 0 790 Other Labor Litigation 1 893 Environmental Matters
Med. Malpractice O791 Empl. Ret. Inc. 1 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS Act
1 210 Land Condemnation C1 440 Other Civil Rights Habeas Corpus: (1870 Taxes (U.S. Plaintiff 1 896 Arbitration
(1 220 Foreclosure [1 441 Voting 0 463 Alien Detainee or Defendant) (1 899 Administrative Procedure
C1 230 Rent Lease & Ejectment [[] 442 Employment Oo an. enone to Vacate De. sean ene Party 26 Act/Review or Appeal of
(1 240 Torts to Land O og Other: Agency Decision
(1 245 Tort Product Liability 1445 Amer, w/Disabilities - [] 530 General IMMIGRATION a ny orse
CJ 290 All Other Real Property Employment (1 535 Death Penalty OO 462 Naturalization Application
(1446 Amer. w/Disabilities - [] 540 Mandamus & Other [] 465 Other Immigration
Other 1 550 Civil Rights Actions
[1 448 Education 0 555 Prison Condition
560 Civil Detainee —

O Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only) d
‘igi 2 R d i i Transferred from 6 Multidistrict eh. i
Progeeding o from State O% on i Oo 4 Reinelated Oo 5 another district Litigation O07 Scr Wis Os Malet | he Remanded from
Court below) Reopened (Gpecify) Transfer Oe itigation Appellate Court
from Magistrate —_ Direct
judgment a
VI. RELATED/ (See instructions): a) Re-filed Case OYES ej NO b) Related Cases OYES oO NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION
LENGTH OF TRIAL via 60 days estimated (for both sides to try entire case)
VIII REQUESTED IN CHECK IF THIS IS A CLASS ACTION
COMPLAINT: UW UNDER F.R.C.P. 23 DEMAND $15,000,000.00

CHECK YES only if demanded in complaint:
JURY DEMAND: 4] Yes No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE

“4/14 [18 PEL

FOR OFFICE USE ONLY
RECEIPT # AMOUNT IFP JUDGE MAG JUDGE

